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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 107, Motion to Continue Sentencing by Isreal

Travis Bishop. The motion, which is unopposed, is granted. The sentencing is reset for Friday,

February 2, 2007, at 11:00 a.m.



       DONE AND ORDERED this 29th day of November, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
